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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   HKB Incorporated,                               No. CV-16-03799-PHX-DJH
10                  Plaintiff,                       RULE 16 SCHEDULING ORDER
11   v.
12   Board of Trustees for the Southwest
     Carpenter's Southwest Trust, et al.,
13
                    Defendants.
14
15            On September 24, 2018 the parties filed their Rule 26(f) Joint Case Management
16   Report (Doc. 57). On the basis of that joint report and in accordance with Rule 16(b)(1)
17   of the Federal Rules of Civil Procedure,
18            IT IS HEREBY ORDERED as follows:
19            1.    Deadline for Initial Disclosures. Initial disclosures required by Federal
20   Rule of Civil Procedure 26(a), if not already exchanged, shall be exchanged no later than
21   October 15, 2018. The parties shall file with the Clerk a Notice of Initial Disclosure,
22   rather than copies of the actual disclosures.
23            2.    Deadline for Joining Parties, Amending Pleadings, and Filing Supplemental
24   Pleadings. The deadline for joining parties, amending pleadings, and filing supplemental
25   pleadings is 60 days from the date of this Order.
26            3.    Discovery Limitations. Depositions shall be limited to seven hours each as
27   Rule 30(d) of the Federal Rules of Civil Procedure provides. The number of depositions
28   and interrogatories are governed by the limits in Rules 30, 31, and 33 of the Federal
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 1   Rules of Civil Procedure. Therefore, each party is limited to 10 depositions and 25
 2   interrogatories, including all discrete subparts.     The procedures for requests for
 3   admissions and requests for production in Federal Rules of Civil Procedure 34 and 36 are
 4   modified to limit each party to 25 requests for production of documents, including
 5   subparts, and 25 requests for admissions, including subparts.
 6           4.    Deadline for Completion of Fact Discovery. The deadline for completing
 7   fact discovery, including discovery by subpoena, shall be May 24, 2019. To ensure
 8   compliance with this deadline, the following rules shall apply:
 9                 a.      Depositions: All depositions shall be scheduled to commence at
10   least five working days prior to the discovery deadline. A deposition commenced five
11   days prior to the deadline may continue up until the deadline, as necessary.
12                 b.      Written Discovery: All interrogatories, requests for production of
13   documents, and requests for admissions shall be served at least 45 days before the
14   discovery deadline.
15                 c.      The parties may mutually agree in writing, without Court approval,
16   to extend the time provided for discovery responses in Rules 33, 34, and 36 of the Federal
17   Rules of Civil Procedure. Such agreed-upon extensions, however, will not alter or extend
18   the discovery deadlines set forth in this Order.
19                 d.      Special Provisions Regarding Rule 34 Responses. Objections to
20   Rule 34 document production requests shall be stated with specificity; general or
21   boilerplate objections are not permitted. Document production in response to a Rule 34
22   request must be completed no later than the time specified in the request or another
23   reasonable time specified in the response. An objection to a Rule 34 request must state
24   whether any responsive materials have been withheld on the basis of that objection.
25           5.    Deadlines for Disclosure of Experts and Completion of Expert Discovery.
26                 a.      Plaintiff(s) shall provide full and complete expert disclosures as
27   required by Rule 26(a)(2) of the Federal Rules of Civil Procedure no later than June 3,
28   2019.


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 1                 b.     Defendant(s) shall provide full and complete expert disclosures as
 2   required by Rule 26(a)(2) of the Federal Rules of Civil Procedure no later than June 10,
 3   2019.
 4                 c.     Rebuttal expert disclosures, if any, shall be made no later than June
 5   17, 2019. Rebuttal experts shall be limited to responding to opinions stated by initial
 6   experts.
 7                 d.     Expert depositions shall be completed no later than July 1, 2019. As
 8   with fact witness depositions, expert depositions shall be scheduled to commence at least
 9   five working days before the deadline.
10                 e.     Disclosures under Rule 26(a)(2)(A) must include the identities of
11   treating physicians and other witnesses who have not been specially employed to provide
12   expert testimony in this case, but who will provide testimony under Federal Rules of
13   Evidence 702, 703, or 705. A Rule 26(a)(2)(B) report is required for any opinion of such
14   witnesses that was not developed in the course of their treatment or other factual
15   involvement in this case.
16                 f.     As the Advisory Committee Notes to Rule 26 (1993 Amendments)
17   state, expert reports disclosed under Rule 26(a)(2)(B) must set forth “the testimony the
18   witness is expected to present during direct examination, together with the reasons
19   therefor.” Full and complete disclosures of such testimony are required on the dates set
20   forth above; absent truly extraordinary circumstances, parties will not be permitted to
21   supplement their expert reports after these dates.
22                 g.     Each side is limited to one retained or specially employed expert
23   witness per issue.
24                 h.     Pursuant to Rule 26(e)(1), any additions or other changes to
25   information previously disclosed must be made prior to the time that Rule 26(a)(3)
26   Pretrial Disclosures are due. Since this Court effectively requires all Rule 26(a)(3)
27   Pretrial Disclosures to be contained in the joint Proposed Final Pretrial Order, this Order
28   contemplates that all exhibits and witnesses that may be offered at trial will have been


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 1   disclosed before the close of discovery as established by this Order. This Order therefore
 2   supersedes the “thirty-day before trial” disclosure deadline contained in that Rule.
 3   Therefore (1) failure to have timely supplemented a Rule 26(a) disclosure, (2) failure to
 4   have timely supplemented responses to discovery requests, or (3) attempting to include
 5   any witnesses or exhibits in the joint Proposed Final Pretrial Order that were not
 6   previously disclosed prior to the discovery deadline set forth in this Order, may result in
 7   the exclusion of such evidence at trial or the imposition of other sanctions.
 8           6.      Discovery Disputes. The parties shall not file written discovery motions
 9   without leave of Court. If a discovery dispute arises and cannot be resolved despite
10   sincere efforts to resolve the matter through personal consultation (in person or by
11   telephone), the parties shall jointly file (1) a brief written summary of the dispute, not to
12   exceed two pages, with explanation of the position taken by each party and (2) a joint
13   written certification that the counsel or the parties have attempted to resolve the matter
14   through personal consultation and sincere effort as required by LRCiv 7.2(j) and have
15   reached an impasse. If the opposing party has refused to personally consult, the party
16   seeking relief shall describe the efforts made to obtain personal consultation. Upon
17   review of the filed written summary of the dispute, the Court may set an in-court hearing
18   or telephonic conference, order written briefing, or decide the dispute without conference
19   or briefing. If the Court desires supplemental briefing prior to a hearing, counsel will be
20   notified by order of the Court. Any briefing ordered by the Court shall comply with
21   LRCiv 7.2(j).
22           Absent extraordinary circumstances, the Court will not entertain fact discovery
23   disputes after the deadline for completion of fact discovery and will not entertain expert
24   discovery disputes after the deadline for completion of expert discovery.
25           7.      Deadline for Filing Dispositive Motions.1
26   1
       For cases filed after January 1, 2018 the Court is participating in a pilot project that
27   prohibits the parties from filing separate statement of facts or controverting
28   statements of facts in support of a summary judgment motion and response. Instead, the
     parties must include all facts in the motion, response, and reply. Evidence to support a

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 1                  a.    Dispositive motions shall be filed no later than July 26, 2019. Such
 2   motions must comply in all respects with the Federal Rules of Civil Procedure and the
 3   Local Rules.
 4                  b.    No party shall file more than one motion for summary judgment
 5   under Rule 56 of the Federal Rules of Civil Procedure unless permission is first obtained
 6   from the Court. The Court notes that motions for summary judgment have already been
 7   filed and ruled on in this case.
 8                  c.    Failure to respond to a motion within the time periods provided in
 9   Local Rule of Civil Procedure 7.2 may be deemed a consent to the denial or granting of
10   the motion and the Court may dispose of the motion summarily pursuant to Local Rule of
11   Civil Procedure 7.2(i).
12                  d.    A party desiring oral argument shall place the words “Oral
13   Argument Requested” immediately below the title of the motion pursuant to Local Rule
14   of Civil Procedure 7.2(f). The Court may issue an order scheduling oral argument as it
15   deems appropriate.
16                  e.    The parties are directed to the Electronic Case Filing Administrative
17   Policies and Procedures Manual for the District of Arizona with respect to providing
18   paper courtesy copies of certain filings to Chambers.
19                  f.    Statements of fact required by Local Rule of Civil Procedure 56.1
20   shall not exceed ten (10) pages in length, exclusive of exhibits.
21          8.      Deadline for Engaging in Good Faith Settlement Talks. All parties and
22   their counsel shall meet in person and engage in good faith settlement talks no later than
23
     motion or response may be attached thereto (but not to a reply) consistent with LRCiv
24   56.1(f). Each citation to relevant evidence in support of a fact must include a pin citation
25   to one page that proves that fact. The responding party must carefully address all
     material facts raised in the motion. Any fact that is ignored may be deemed uncontested.
26
     Although this case was filed prior to 2018, the Court prefers the parties proceed in this
27   manner. If the parties jointly elect to proceed in this manner, the parties shall file a Joint
28   Notice so advising the Court.



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 1   September 27, 2019. No later than five working days after the deadline set forth in the
 2   preceding sentence, the parties shall file a joint report on settlement talks executed by or
 3   on behalf of all counsel.
 4            9.    Settlement Conference Before a Magistrate Judge.           The parties shall
 5   indicate when assistance from the Court is needed in seeking settlement of the case.
 6   Upon a joint request by the parties, the Court will refer the matter for a settlement
 7   conference before a Magistrate Judge.
 8            10.   Consent to a Magistrate Judge as Presider.         The parties shall confer
 9   regarding possible consent to exercise of jurisdiction by a United States Magistrate Judge
10   as presider in this action. If all parties agree to consent to a United States Magistrate
11   Judge as presider in this action, the parties shall, within 14 days of the date of this order,
12   submit to the Clerk of Court in paper form Form AO 85, Notice of Availability of a
13   United States Magistrate Judge to Exercise Jurisdiction. This form is available on the
14   court's website at www.azd.uscourts.gov/forms. This form shall not be electronically
15   filed.
16            11.   Deadline for Notice of Readiness for Pretrial Conference. The Plaintiff(s)
17   shall notify the Court that the parties are ready for scheduling of a Final Pretrial
18   Conference pursuant to Rule 16(d) of the Federal Rules of Civil Procedure. The
19   Plaintiff(s) shall file and serve this notice within ten days after the dispositive motion
20   deadline if no dispositive motions are pending on that date. If dispositive motions are
21   pending, Plaintiff(s) shall file and serve such notice within ten days after the resolution
22   of dispositive motions. The Court will then issue an Order Setting Final Pretrial
23   Conference that (a) sets deadlines for briefing motions in limine, (b) includes a form for
24   the completion of the parties' Joint Proposed Final Pretrial Order, and (c) otherwise
25   instructs the parties concerning their duties in preparing for the Final Pretrial Conference.
26   A firm trial date will be set at the Final Pretrial Conference.
27            12.   Sanctions for Failure to Meet Deadlines. The parties are warned that failure
28   to meet any of the deadlines in this order or in the Federal Rules of Civil Procedure


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 1   without substantial justification may result in sanctions.
 2          13.    Briefing Requirements.
 3                 a.      All memoranda filed with the Court shall comply with Local Rule of
 4   Civil Procedure 7.1(b) requiring 13 point font in text and footnotes.
 5                 b.      Citations in support of any assertion in the text shall be included in
 6   the text, not in footnotes.
 7          TAKE NOTICE that the deadlines contained herein are real. Pursuant to the
 8   Civil Justice Reform Act of 1990 the Court is obligated to facilitate civil cases in a
 9   manner which reduces delay of adjudication. The Court expects the parties to adhere to
10   the case management schedule as well as to the Federal Rules of Civil Procedure and
11   Local Rules. Requests to extend deadlines shall be made only under extraordinary
12   circumstances; settlement negotiations do not constitute extraordinary circumstances.
13          IT IS ORDERED that the Rule 16 Scheduling Conference set for October 1, 2018
14   is VACATED.
15          IT IS FINALLY ORDERED that the Motion for Leave to Appear
16   Telephonically (Doc. 55) is DENIED as moot.
17          Dated this 26th day of September, 2018.
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20                                                 Honorable Diane J. Humetewa
21                                                 United States District Judge

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